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 8   Attorneys for Plaintiff/Counter Defendant Interworks Unlimited, Inc.
 9
                         UNITED STATES DISTRICT COURT
10
                       CENTRAL DISTRICT OF CALIFORNIA
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     Interworks Unlimited, Inc., a California )    Case No. 2:17-cv-4983 AB TJH KSx)
13   corporation,                             )
14                                            )    PLAINTIFF/COUNTER
                   Plaintiff,                 )    DEFENDANT INTERWORKS
15         v.                                 )    UNLIMITED, INC.’S NOTICE OF
16                                            )    MOTION AND MOTION FOR
17   Digital Gadgets, LLC., a New Jersey      )    SUMMARY JUDGMENT, OR IN
     limited liability company,               )    THE ALTERNATIVE FOR
18                                            )    SUMMARY ADJUDICTION OF
19                        Defendant.          )    CLAIMS
     ________________________________ )
20                                            )    Date:      December 17, 2018
21   Digital Gadgets, LLC., a New Jersey      )    Time:      UNDER SUBMISSION
     limited liability company,               )    Courtroom: 9B
22
                                              )
23                        Counterclaimant,    )
24                  v.                        )
                                              )
25   Interworks Unlimited, Inc., a California )
26   corporation,                             )
                                              )
27
                          Counter-defendant )
28                                            )


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 1         TO ALL PARTIES AND/OR THEIR ATTORNEYS OF RECORD:
 2         NOTICE IS HEREBY GIVEN THAT on the above referenced date, time
 3   and Courtroom located at the above entitled Court located at 350 W. 1st Street, Los
 4   Angeles, California 90012, Plaintiff/Counter Defendant Interworks Unlimited, Inc.
 5   ("Plaintiff") will and hereby does move the Court for summary judgment or, in the
 6   alternative, for summary adjudication of the claims set forth in its Complaint and
 7   in the Counterclaim filed by Defendant/Counterclaimant Digital Gadgets, LLC.
 8   (“Defendant”). The basis for the motion is that there are no genuine issue as to the
 9   following material facts: (1) Plaintiff and Defendant entered into a contract for the
10   sale and purchase of $1,792,890.00 worth of hoverboards; (2) Plaintiff delivered
11   the hoverboards; (3) the Defendant accepted the merchandise; (4) Defendant never
12   rejected the hoverboards; (5) Defendant never revoked acceptance; (6) Defendant
13   retained the hoverboards; (7) Defendant sold the hoverboards through a third party;
14   (8) Defendant never gave the Plaintiff the required statutory notice for any
15   defective or nonconforming merchandise; (9) Defendant never provided any
16   evidence that it suffered any damages as a result of any breach or nonconforming
17   hoverboards; (10) there was never any exclusivity agreement between the Plaintiff
18   and Defendant; (11) even if there was, it was never in writing; (12) there is no
19   evidence of any claims being filed against the Defendant in connection with the
20   hoverboards; (13) Defendant waived any alleged fraud be keeping the hoverboards
21   after discovery of an alleged nonconformity; (14) Defendant has only paid the
22   Plaintiff $765,310.00 and (15) Defendant is, thus, indebted to Plaintiff for
23   $1,027,580.00;
24         Thus, the Plaintiff is entitled to judgment or, alternatively, an adjudication of
25   claims, as a matter of law on the Complaint and the Counterclaim;
26         This motion is based upon this Notice of Motion and Motion, the
27   accompanying Memorandum of Points and Authorities, the Statement of
28   Uncontroverted Facts and Conclusion of Law, the Exhibits and Evidence in

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 1   Support of Motion for Summary Judgment, the Declarations of Eric Lu and Roger
 2   C. Hsu, all pleadings and papers on file in this action, and, if applicable, upon such
 3   other matters as may be presented to the Court at the time of any related hearing.
 4         This motion is made following the conference of counsel pursuant to L.R.
 5   7-3 which took place on November 2, 2018.
 6
 7   Date: November 12, 2018                        By: /s/ Joseph M. Liu, Esq.        .
                                                        Joseph M. Liu, Esq.
 8                                                      Attorneys for Plaintiff/Counter
 9                                                      Defendant Interworks
                                                        Unlimited, Inc.
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